Case 24-20725-GLT     Doc 65   Filed 06/27/25 Entered 06/27/25 13:41:13      Desc Main
                               Document     Page 1 of 2


                    IN THE UNITED STATES BANKRUPTCY COURT
                   FOR THE WESTERN DISTRICT OF PENNSYLVANIA

In re:
Dale Wright, Sr.                        :      Case No. 24-20725-GLT
             Debtor(s)                  :      Chapter 13
                                        :
Ronda J. Winnecour, Chapter 13          :
Trustee                                 :
            Movant                      :
                                        :
             vs.                        :
                                        :
PNC Bank, National Association          :
           Respondent(s)                :

             NOTICE OF HEARING AND RESPONSE DEADLINE
  REGARDING TRUSTEE’S MOTION TO PRECLUDE NOTICE OF POST-PETITION
              MORTGAGE FEES, EXPENSES AND CHARGES

TO THE RESPONDENT(S):

      You are hereby notified that the Movant seeks an order affecting your rights or
property.

        You are further instructed to file with the Clerk and serve upon the undersigned
attorney for Movant a response to the Motion no later than July 28, 2025 (i.e., thirty
(30) days after the date of service below), in accordance with the Federal Rules of
Bankruptcy Procedure, the Local Rules of this Court, and the general procedures of
the presiding Judge as found on the Court’s webpage at www.pawb.uscourts.gov. If
you fail to timely file and serve a written response, an order granting the relief
requested in the Motion may be entered and the hearing may not be held. Please refer
to the calendar posted on the Court’s webpage to verify if a default order was signed or
if the hearing will go forward as scheduled.

      You should take this Notice and the Motion to a lawyer at once.

       An in-person hearing will be held on August 27, 2025, at 10:00 a.m. before
Judge Gregory L. Taddonio in Courtroom A, 54th Floor U.S. Steel Tower, 600 Grant
Street, Pittsburgh, PA 15219. In accordance with Judge Taddonio’s procedures,
parties may appear for non-evidentiary matters remotely by utilizing the Zoom video
conference platform. Parties seeking to appear remotely must register for the hearing
by submitting a registration form via the link published on Judge Taddonio’s website
(which can be found at http://www.pawb.uscourts.gov/judge-taddonios-video-
conference-hearing-information) no later than 4 p.m. on the business day prior to a
scheduled hearing.     All parties participating remotely shall comply with Judge
Taddonio’s      General      Procedures,      (which     can    be      found      at
http://www.pawb.uscourts.gov/sites/default/files/pdfs/glt-proc.pdf).

       Parties who fail to timely register for remote participation will be expected
to attend the hearing in person.
Case 24-20725-GLT    Doc 65   Filed 06/27/25 Entered 06/27/25 13:41:13     Desc Main
                              Document     Page 2 of 2


      Only a limited time of ten (10) minutes is being provided on the calendar. No
witnesses will be heard. If there is an issue of fact, an evidentiary hearing will be
scheduled by the Court for a later date.

6/27/2025                       /s/Ronda J. Winnecour
Date of Service                 Ronda J. Winnecour (PA I.D. #30399)
                                Attorney and Trustee
                                U.S. Steel Tower – Suite 3250
                                600 Grant Street
                                Pittsburgh, PA 15219
                                (412)471-5566
